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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 Fred L. Nance Jr.,

                        Plaintiff,                        Case No. 1:20-cv-06316

                 v.                                       Hon. LaShonda A. Hunt
                                                          Magistrate Judge Beth W. Jantz
 EMAGES, Inc., and
 Hattie Wash,

                        Defendants.

                      DEFENDANTS’ SUPPLEMENTAL RESPONSE TO
                         PLAINTIFF’S MOTION FOR SANCTIONS

        With leave of Court, (Dkt. 146), Defendants, EMAGES, Inc. (“EMAGES”), and Dr. Hattie

Wash (“Dr. Wash”) (collectively, “Defendants”), through their undersigned counsel, submit this

supplemental response to Plaintiff, Dr. Fred L. Nance, Jr.’s (“Plaintiff”) Motion for Sanctions

(“Motion”). (Dkt. 144.) Defendants addressed in their Cross-Motion for Sanctions and Response

to Plaintiff’s Motion for Sanctions (“Cross-Motion”) that Plaintiff’s Motion should be denied in

its entirety. (See Dkt. 145 at 13-14.) Specifically, Plaintiff misrepresents what occurred at his

deposition, where he prevented a fair examination. (See id. at 2-8.) And a cursory review of the

email communication attached to Plaintiff’s Motion undermines his conclusory allegations that

Defendants’ counsel threatened, harassed, and intimidated him. (See Dkt. 144-2.) Defendants will

not rehash those issues further. Instead, Defendants wish to bring to the Court’s attention Plaintiff’s

conduct after Defendants filed their Cross-Motion.

        Since May 30, 2023 through the date of this filing, Plaintiff posted the tweet (reproduced

below) on 68 separate occasions, the only difference being the documents, articles, or websites




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that are linked to each tweet:1




          It is unclear how Plaintiff believes Defendants’ counsel—who is not a federal or state

government employee—is violating his First Amendment rights. But in any event, Plaintiff’s

general assertions of First Amendment protections are flawed. The First Amendment does not

allow a person to make harassing communications, and the Court’s inherent authority to manage

proceedings before it provides a basis for admonishing Plaintiff’s conduct. See, e.g., United States

v. Parr, 545 F.3d 491, 496-97 (7th Cir. 2008) (“[T]he First Amendment does not preclude

restrictions on certain categories of speech having little or no social value”); Mohammed v.

Anderson, 833 F. App'x 651, 655 (7th Cir. 2020), cert. denied, No. 20-6318 (U.S. Jan. 19, 2021)

(the plaintiff’s “contention that his rights under the First Amendment insulate him from litigation

sanctions also fails. Speech during legal proceedings may warrant protection, but the First

Amendment does not shield a party from sanctions in a civil lawsuit.”).



1
    Plaintiff’s Twitter page may also be accessed at https://twitter.com/clickforjustice.
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        On June 1, 2023, Plaintiff also posted the following tweets that described a pre-written

statement he read during a status hearing earlier in this case before Judge Alonso:




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        Then on Sunday, June 4, 2023, Plaintiff posted two more tweets directed at Defendants’

counsel and his law firm. The first accuses counsel of threatening Plaintiff and attempting to use

Federal Rule of Evidence 408 to conceal those threats from disclosure:




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Plaintiff went on to accuse Defendants’ counsel of “unprofessionalism, bias, prejudice, privilege,

discrimination, and a touch of racism”:2




        Plaintiff’s tweets are completely unfounded and not based in reality. But they are

representative of how Plaintiff has been conducting himself throughout the entirety of this

litigation. Plaintiff has now accused both the Court and Defendants’ counsel of racism and

prejudice without any basis to do so. Plaintiff’s conduct cannot continue. His Motion is frivolous

and should be entirely denied.

                                             CONCLUSION

        For these reasons and those stated in Defendants’ Cross-Motion for Sanctions and

Response to Plaintiff’s Motion for Sanctions, Defendants respectfully request that the Court deny

Plaintiff’s Motion in its entirety, and for any other and further relief the Court deems necessary

and just.




2
  Plaintiff posted the exact same tweet again at 8:41 a.m. on June 7, 2023. See https://twitter.com/clickfor
justice/status/1666440146986627074?cxt=HHwWhMCziYGfsaAuAAAA (last accessed Jun. 7, 2023).
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Dated: June 13, 2023                               Respectfully submitted,

                                                   EMAGES, INC. AND DR. HATTIE WASH


                                             By:   /s/ Adam W. Decker
                                                   One of their Attorneys
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                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on June 13, 2023, the foregoing Defendants’

Supplemental Response to Plaintiff’s Motion for Sanctions was electronically filed with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to the

parties listed on the electronic service list:


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